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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on June 14, 2024 a ZY mM J - 000 52

UNITED STATES OF AMERICA : CASENO. 23-cr-447 (RC)
Vv. : VIOLATIONS:
: 18U.S.C. § 372
BART GORE and ‘ : (Conspiracy To Impede or Injure Officers)
:  18U.S.C. § 1752(a)(1)
KEVIN G. MOORE, : = (Entering and Remaining in a Restricted

Building or Grounds)
>: =18 U.S.C. § 1752(a)(2)
: (Disorderly and Disruptive Conduct in a
+ Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
: (Disorderly Conduct in
: a Capitol Building)
> ©40U.S.C. § 5104(e)(2)(G)
:  (Parading, Demonstrating, or Picketing in
+ a Capitol Building) Cas¢- 4-23-cr-00447

Assigned To : Judge Rudolph Contreras
Assign. Date : 9/11/2024

SUPERSEDING INDICTMENT Description: Superseding Indictment (B)

Related Case: 23-tr-447 (RC)
The Grand Jury charges that, at all times material to this Superseding Indictment, on or

Defendants.

about the dates stated below:
Introduction
The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

1. The 2020 United States Presidential Election occurred on November 3, 2020.

Z. The United States Electoral College (“Electoral College”) is a group required by
the Constitution to form every four years for the sole purpose of electing the president and vice
president, with each state appointing its own electors in a number equal to the size of that state’s
Congressional delegation.

Ds On December 14, 2020; the presidential electors of the Electoral College met in the
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state capital of each state and in the District of Columbia and formalized the result of the 2020
U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have won
sufficient votes to be elected the next president and vice president of the United States.

4, On January 6, 2021, a Joint Session of the United States House of Representatives
and the United States Senate (“the Joint Session”) convened in the United States Capitol (“the
Capitol”) building. The purpose of the Joint Session was to open, count, and resolve any objections
to the Electoral College vote of the 2020 U.S, Presidential Election, and to certify the results of
the Electoral College vote (“Certification of the Electoral College vote”) as set out in the Twelfth
Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

The Attack at the U.S. Capitol on January 6, 2021

5. The Capitol is secured 24 hours a day by United States Capitol Police (“Capitol
Police”). The Capitol Police maintain permanent and temporary barriers to restrict access to the
Capitol exterior, and only authorized individuals with appropriate identification are allowed inside
the Capitol building,

6. On January 6,2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.

7, On January 6, 2021, at approximately 1:00 p.m., the Joint Session convened in the
Capitol building for the Certification of the Electoral College vote. Vice President Michael R.
Pence presided, first in the Joint Session and then in the Senate chamber.

8, A large crowd began to gather outside the Capitol perimeter as the Joint Session
got underway. Crowd members eventually forced their way through, up, and over Capitol Police
barricades onto the Capitol grounds and advanced to the building's exterior facade. Capitol Police

officers attempted to maintain order and stop the crowd from entering the Capitol building, to
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which the doors and windows were locked or otherwise secured. Nonetheless, shortly after 2:00
p.m., crowd members forced entry into the Capitol building by breaking windows, ramming open
doors, and assaulting Capitol Police officers. Other crowd members encouraged and otherwise
assisted the forced entry. The crowd was not lawfully authorized to enter or remain inside the
Capitol building or grounds, and no crowd member submitted to security screenings or weapons
checks by Capitol Police or other security officials,

9, Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate
(including Vice President Pence) were evacuated from their respective chambers. The Joint
Session was halted while Capitol Police and other law-enforcement officers worked to restore
order and clear the Capitol building and grounds of the unlawful occupants.

10. Later that night, law enforcement regained control of the Capitol building and
grounds, At approximately 8:00 p.m., the Joint Session reconvened, presided over by Vice
President Pence, who had remained hidden within the Capitol building throughout these events.

11. Inthe course of these events, over 100 law enforcement officers were injured. The
Capitol suffered millions of dollars in damage—including broken windows and doors, graffiti, and
residue from pepper spray, tear gas, and fire extinguishers deployed both by crowd members who
stormed the Capitol and by Capitol Police officers trying to restore order. Additionally, many
media members were assaulted and had cameras and other news-gathering equipment destroyed.

Conspirators
12. BART GORE is a 51-year-old resident of Danridge, Tennessee.

13. KEVING. MOORE is a 51-year-old resident of Logan, West Virginia.
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14. | GORE and MOORE became friends when they both lived in West Virginia, and
they remained in contact after GORE moved to Tennessee. In texts and Facebook messages,
GORE referred to West Virginia as home.

UNT ONE

15. The allegations in paragraphs | through 14 are realleged and incorporated as if fully
set forth in this paragraph.

16. On or about October 4, 2020 through January 6, 2021, within the District of
Columbia and elsewhere, the defendants, BART GORE and KEVIN G. MOORE, did conspire
with each other and others known and unknown, to prevent, by force, intimidation, and threat, any
person, that is, Members of the United States Congress and law enforcement officers, frorn
discharging any duties of any office, trust, or place of confidence under the United States, and to
induce by force, intimidation, and threat, any officer of the United States, that is Members of the
United States Congress and law enforcement officers, to leave the place, where their duties as
officers were required to be performed.

Means and Methods of the Conspiracy
Preparing for January 6, 2021

17. On November 4, 2020, GORE replied to a post on Facebook, “I have lived my life
enjoying the freedom so many others gave their lives to protect. I don’t want to live in a communist
country. At some point we (the people who actually believe in something) have to take a stand.
We have become so tolerant and passive that the left and libs know that they can get their way
through riots and lawless behavior. When do we tum the table and start dishing out what we’ve
been dealt? For those of you that believe in God, what was the only sacrifice given to stay or

forgive sins? BLOOD. I know violence is a last resort but controlled violence is very effective. I
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believe in our country and I believe in all of you that have a spine. There’s plenty of us out here.
We just have to form a union of believers. It’s time for action”

18. GORE and MOORE used Facebook messenger to send messages, photos, videos,
and links, to share information regarding the 2020 presidential election, to attempt to recruit others,
and to coordinate travel plans for January 6, 2021.

19. On December 12, 2020, GORE messaged MOORE on Facebook, “Hey punk!!
Look at my post on Facebook. I joined the Proud Boys a couple months ago. Time to put boots on
the ground. We should be in DC right now.” MOORE responded, “How can I join.”

20. _Harlier that day, the Proud Boys had participated in a march in Washington, D.C.
protesting the results of the 2020 Presidential election, where multiple people were stabbed. GORE
sent MOORE a video about that event titled, “@Murder the Media — MurderTheMedia - Here’s
the stabbing and subsequent boot party”

21, On December 12, 2020, GORE messaged MOORE that the Proud Boys are
“organized and they mean business.” MOORE responded, “I would love to be there.”

22, GORE continued, “They are kicking the crack out of antifa and blm in de right
now.” MOORE messaged back that we are all going to have to fight back.

23, GORE told MOORE, “If I would’ve had a partner to ride with me, I would be there.
I’m going to the next march. Follow murdet the media on Parler and look at the videos. You'll be
ready to go. I know you bro.” MOORE responded, “Yes let’s go.”

24. In subsequent online cormmunications, MOORE advised GORE, “It’s past time
people got to fight back.” Later in the same conversation GORE stated to MOORE, “T think we go
_ for the head of the snake. The FBI, the CIA, Obama, Clinton’s [sic], Barr, and anyone else. I don’t

want to live in a communist country.” MOORE responded with a thumbs up.
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25. GORE continued, “I’m so ready to kick the lungs loose in these mfers.” MOORE
responded, “They all need to go down.” Gore then stated, “I’m ready to do my part. I don't plan
on living in a communist country.”

26: On December 16, 2020, GORE’s family member texted him a message that
included the following text: “Today, the electoral college votes will be sealed and sent by special
carrier to Washington where they will remain sealed until January 6th when the House and Senate
will come into a joint session to open the votes. The media is going to make you believe that it's
all over and Joe Biden is now officially president...On January 6th, Nancy Pelosi will sit down
with the rest of the House members as she has no special power or authority over the hearing... .
Vice President Mike Pence will have all the authority as president of the Senate for that day and
will accept or reject motions to decide the next steps by the assembly. Remember... Mike Pence is
in full authority that day as written in the Constitution. The ballots will be certified today but that
means nothing...The votes will be opened and at that point one House member could, and most
likely will, raise their hand to object to the Vice President on the state of elector's votes. That
objection could cover fraud or any other reason, and with the seconding of that objection
everything changes, Everything!! The House and Senate will divide for two hours (at least) to
debate, then vote. The vote will be per Senator with the Vice President being the deciding vote if
needed in the Senate, while the vote in the House will be only be ONE vote per delegation, per
state, not per House member!!! The Republicans have 30 delegation votes compared to the
Democrats 20 delegation votes. If this scenario runs true, President Trump gets re-elected. The
Democrats, the media, social networks and globalists around the world will come unhinged and
chaos will erupt. Bigly. President Trump is trying to do the right thing and go through the courts

first, expose all the fraud, but we all knew that none of the courts, even the Supreme Court wanted
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to touch this issue with a 10-f pole! This is why our forefathers were so brilliant because they
knew something like this could happen someday. So, don't listen to the media and all their
deception and lies, All you have to do is read the Constitution and you know that the law, policies
and procedures in the end are on our side. If you think this is over & Biden truly won, Buckle up
and enjoy the ridel”

27, On December 17, 2020, GORE sent MOORE a tweet that said, “According to a
source close to the White House Admin @realDonaldTrump @ POTUS has ordered most of his
WH staff to leave DC area and clear out. Something big is about to go down in DC.” GORE then
asked MOORE, “You ready, bro?” Moore responded, “I’m ready it’s past time. I’m ready to kick
some BLM butt.” MOORE then sent GORE a photo of himself flexing without a shirt. GORE
commented on MOORE’s appearance and then messaged, “yeah. You're ready.” Later in that
conversation, MOORE told GORE, “Something does happen you come home I’m in very good
shape with ammo and guns.”

28. On or about December 21, 2020, GORE mentioned to MOORE trying to go to
Washington, D.C. on January 6, 2021. In that same conversation, GORE told MOORE, “T'dlove
to be the one to capture Obama or Hillary. I’d strip them naked and beat them with a belt and
switch. Then I’d rest and beat them some more.” MOORE responded, “Me too it will be a beautiful
day.”

29, On December 22, 2020, GORE texted a friend concerning the events planned in
Washington, D.C. on January 6. Among other statements, GORE told his friend, “The only way
to solve this is for all those crooks to be tried and convicted and executed!!”

30, On December 26, 2020, GORE texted another friend, “Gonna happen on the 6".

Hope you guys are prepared.” The friend asked GORE to explain what he would need. GORE
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responded, “Tons of ammo, Food. A plan for your family when communicating by cell phone
won’t work. Two way radios, That’s why I joined up with the Proud Boys and 3%ers. That way I
am in the know about this stuff. Dude, this is for real.” The conversation continued and GORE
stated, “They’re marching on DC on the 6". Preparing to secure the presidency for Trump,”

31. On January 1, 2021, MOORE messaged GORE on Facebook, “You think if we go
to DC we will find anywhere to stay.” GORE responded, “T was thinking about that this afternoon.
I’m coming home Saturday. We will look. I’m bringing an AR with me.” MOORE replied,
“Sounds good.”

32, Onl. anuaty 2, 2021, MOORE messaged GORE that they would talk about going to
Washington, D.C. GORE messaged MOORE, “That sounds awesome!! You ready to get beat up??
Lol” MOORE responded, “I can’t wait to get whipped on. If we do get beat up we won’t tell
nobody.” GORE continued, “I’m gonna go to dicks and get me a mouth guard so I don’t get my
teeth knocked out. Lol.” MOORE responded, “T have one.” GORE explained, “I used to have one.
I don’t know where it’s at. I may get a small bat and a backpack.” MOORE replied, “If we do go
we will have to stop and get everything we will need.” GORE suggested getting wasp spray. GORE
continued, “Dude, do you realize we may be a huge part of history? Just like in 1776. I want to do
my part.” GORE suggested inviting another person. MOORE responded, “T will ask him to go I
have told some people thinking about going they think we are crazy.” GORE replied, “I don’t care,
If it’s good enough for my brothers to be fighting, it’s good enough for me. I don’t want to live in
a communist country. I’ll fight til I. can’t fight anymore to keep my kids from living that way.”
MOORE messaged, “I really want us to go we got to find somewhere to stay.” GORE responded,
“I’m not going to be told that I can’t worship my Jesus.” MOORE replied, “Amen.” GORE then

messaged, “Daniel stood against the government and ended up in the lion’s den.”
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33. Later on January 2, 2021, GORE sent MOORE a screen shot of an article headline
that said, “Speaker Pelosi’s house vandalized with graffiti, pig head: reports.” MOORE responded,
“Good.” GORE continued, “I say we sack their homes!! Arrest them and beat them with bamboo
chutes. Lol” MOORE replied with a thumbs up. GORE then messaged MOORE, “Text JANG to
86184. Go to wildprotest.com and sign up on rsvp.” The link summary explained, “OFFICIAL,
HOME OF JAN6 PROTEST AT CONGRESS. Click for event details about the protest happening
outside of Congress where the #DoNotCertify caucus will object to the botched Electoral College.
Stop the Steal!” MOORE responded, “T just did it.”

34, On January 3, 2021, MOORE messaged GORE that they need to make plans for
DC. GORE responded MOORE could come by to plan and said, “I’m getting stoked! I think this
is going to be a big deal.” Later that day, GORE messaged MOORE, “There’s honor in dying on
your feet! My knees only hit the ground for my Jesus. Everyone that sits around and does nothing,
deserves nothing. Doing nothing is why we're in this situation.” MOORE responded with a thumbs
up.

35, On January 4, 2021, GORE messaged MOORE to download Telegram, Later in the
conversation, MOORE messaged, “it’s going to get real in DC.” GORE responded, “yes sir.”
MOORE replied, “We are going to be right in the middle of it.” In the conversation, MOORE and
GORE discussed inviting others, GORE agreed to pick up MOORR’s friend in Charleston on the
way to Washington, D.C.

36, GORE’s girlfriend also texted him that she was worried about him. GORE texted
her, “Things are changing. They’re armed now. Brace yourself.”

37, GORE’s girlfriend texted GORE, “You taking a gun??” GORE responded, “Yes.”

38. On January 6, 2021, GORE and MOORE attended the “Stop the Steal” rally. They
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stayed for at least part of then-President Trump’s speech.
January 6, 2021: Participation in the Riot at the U.S. Capitol

39, GORE and MOORE walked over to the U.S. Capitol and made their way to the
northwest lawn. GORE and MOORE attempted to climb the northwest stairs and they were
exposed to a chemical irritant. Another rioter provided GORE and MOORE with safety googles,

40. GORE and MOORE climbed the Northwest Stairs a second time and arrived in the
Northwest Courtyard around the time of the first breach of the U.S. Capitol Building.

41. When GORE and MOORE first arrived at the top, GORE took a video and he said,
“We made it to the top. Ready to go in. Here we come.” Later in the video GORE says, “I’ve been
pepper sprayed, tear gassed, but I made it.”

42. GORE and MOORE entered the Parliamentarian Door of the U.S, Capitol around
2:47 p.m. Before entering, GORE recorded a video. In the video, GORE and MOORE turned to
each other and GORE said, “I guess we should see what this is all about.” GORE and MOORE
then entered the Capitol Building.

43. While at the Capitol, a friend messaged GORE, “what’s going on up there?” GORE
responded, “Chaos! I made it inside.” GORE texted another friend, “I made it inside!! This time
there’s action bro. Been tear gassed and pepper sprayed. Tons of video. It’s still crazy bro.”

Post-January 6, 2021 Activity

44, On January 7, 2021, MOORE messaged GORE to request photos and videos from
January 6.

45. On January 12, 2021, GORE messaged, “I want to go back.” MOORE responded,
“She got everything on lock down.” GORE continued, “I wasn’t satisfied. I would have been

satisfied if they brought Nancy’s head out on a stick.” MOORE responded, “I think so [sic] of the

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people were looking for her. I’ve seen the videos, I can’t believe we didn’t see any of this.”
(Conspiracy to Impede or Injure Officers, in violation of Title 18, United States Code,

Section 372)

COUNT TWO

The allegations in paragraphs 1 through 14 are realleged and incorporated as if fully set
forth in this paragraph.

On or about January 6, 2021, in the District of Columbia, BART GORE and KEVIN G,
MOORE did knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,

United States Code, Section 1752(a)(1))

COUNT THREE

The allegations in paragraphs 1 through 14 are realieged and incorporated as if fully sct
forth in this paragraph,

On or about January 6, 2021, in the District of Columbia, BART GORE and KEVIN G,
MOORE did knowingly, and with intent to impede and disrupt the orderly conduct of Government
business and official functions, engage in disorderly and disruptive conduct in and within such
proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President was and
would be temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

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COUNT FOUR

The allegations in paragraphs 1 through 14 are realleged and incorporated as if fully set _
forth in this paragraph.

On or about January 6, 2021, in the District of Columbia, BART GORE and KEVIN G.
MOORE willfully and knowingly engaged in disorderly and disruptive conduct within the United
States Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and
disturb the orderly conduct of a session of Congress and either House of Congress, and the orderly
conduct in that building of a hearing before or any deliberation of, a committee of Congress or
either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT FIVE

The allegations in paragraphs | through 14 are realleged and incorporated as if
fully set forth in this paragraph.
On or about January 6, 2021, in the District of Columbia, BART GORE and KEVIN G.
MOORE willfully and knowingly paraded, demonstrated, and picketed in any United States
Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2})(G))

A TRUE BILL:

fH. LOL LV cmct fay FOREPERSON.

Attomey of the United States in
and for the District of Columbia.

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UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America
V. ) Case: 1:23-cr-00447
BART GORE and Assigned To : Judge Rudolph Contreras
Assign. Date : 9/11/2024

KEVIN G, MOORE, wee : .
Description: Superseding Indictment (B)

} Related Gase: 23-cr-447 (RC)

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested} KEVIN G. MOORE :
who is accused of an offense or violation based on the following document filed with the court:

[1 Indictment of Superseding Indictment fT Information 17 Superseding Information [7 Complaint
[7 Probation Violation Petition 1 Supervised Release Violation Petition fT Violation Notice 1 Order of the Court

This offense is briefly described as follows:

18 U.S.C, § 372 - Conspiracy To Impede or Injure Officers,

18 U.S.C. § 1752{a)(1) - Entering and Remaining in a Restricted Bullding or Grounds.

18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds.
40 U.S.C, § §104(e)(2)(D) - Disorderly Conduct in a Capitol Bullding,

40 U.S.C. § §104(e}(2)(G) - Parading, Demonstrating, or Pieketing in a Capifol Bullding.

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Date: 09/11/2024
Issuing officer's signature
City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) , and the person was arrested on (date)
at (city and stafe)
Date:

Arresting officer's signature

Printed name and title

